Case

i)

\o oo ~~] N Nn S Uo

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
BF
28

 

 

5:08-cv-00405-RHW-OP Document 1

Dieter Dammeier SBN 188759
Michael McGill SBN 231613
Zahra Khoury SBN 231065
megill caceaerney ain

LA & DAMMETER APC
367 North Second Avenue
Upland, CA 91786

Telephone: (909) 985-4003
Facsimile: (909) 985-3299

Attorneys for Plaintiff
RAY WARREN

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

RAY WARREN
Plaintiff,
VS.

CITY OF BARSTOW, CITY OF
BARSTOW POLICE DEPARTMENT,
HECTOR RODRIGUEZ, individually
and in his capacity as the City Manager
for the City of Barstow, CALEB LE
GIBSON, individually and in his _
carey of Chief of Police for the City
of Barstow; RUDY ALCANTARA
individually and in his capacity as the
lieutenant for the City of Barstow
Police Department; and DOES 1
THROUGH 10 inclusive,

Defendants.

Filed 03/24/08 Page 1lof18 Page ID#:1

 

PREFATORY

1. This case involves the unlawful retaliation for the exercise of

COMPLAINT FOR DAMAGES

1 8002

tat a

|
ZH: Wd 92 Ul

~

Case NOE DCVO8-0405 £24

COMPLAINT FOR DAMAGES
AND INJUNCTIVE RELIEF FOR
VIOLATION OF INDIVIDUAL
CIVIL RIGHTS AND LIBERTIES,
WITH SUPPLEMENTAL STATE
LAW CLAIMS;

pe USC § 1983; Cal. Const. Art. I, ss

, and 3; California Government Code

§ 3302, 3309.5, 3502.1, 3506, 3502,
08; California Labor Code 1102.5)

DEMAND FOR JURY TRIAL

F.R. Civ. P. Rule 38; C.D. Cal. Local
ule 38-1]

 
"Cag

oo S86 SY DO UO BR BW NY HY

Mw NM NN BD BB RD RD Ree me ee a ee ea ea a ea
eo sa BD MN FF BW NH —-F BS Oo ee HI KO TH BR BD BS S

$e 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 20f18 Page ID#:2

individual civil rights and liberties of free expression by City of Barstow. More
specifically, Plaintiff, RAY WARREN (WARREN), a peace officer with the City
of Barstow, was wrongfully retaliated against by, among other things, being
terminated, because he exercised his constitutional right to free speech, and
because he reported illegal activities, by filing complaints and letters, grievances
regarding multiple state and city policy violations, making a complaint with the
District Attorney’s office, matters of public interest, exposing The City of Barstow
police Department’s illegal use of force incidents, and also because he held the
position of the Barstow police officers association president. As a result of the
Defendants’ retaliatory actions, the Plaintiff has brought this lawsuit seeking
damages including punitive damages and injunctive relief for personal injury and
economic losses he has suffered.
II.
JURISDICTION AND VENUE
2. Plaintiffs’ action is authorized by 42 U.S.C. $1983, which provides
for redress for the deprivation under color of state law of rights secured by the
Constitution and the laws of the United States. Jurisdiction is conferred on this
Court by 28 U.S.C. §1343(3), providing for jurisdiction in this Court of suits
authorized by 42 U.S.C. §1983 to redress the deprivation under color of state law
of any right, privilege, or immunity secured by the Constitution of the United
States, and by 28 U.S.C. §1343(4), providing for the protection of civil rights.
Federal supplemental jurisdiction over the state law claims is conferred by 28
U.S.C. $1367. This.Court has authority to provide declaratory and injunctive relief|
in this case pursuant to 28 U.S.C. §§2201 and 2202. Venue is proper in the Central
District of California in that the wrongs alleged herein occurred within the City of

Barstow, in the County of San Bernardino, within the Central District.

COMPLAINT FOR DAMAGES

2

 

 

 
'Cak

oc CO SD AH FB WH Bw

NMP NM NY NM NY NM NB RD De ee ee Oe ee a i
ao SN DR RW BR HY NY EF SG oO wm MON Oh ORO UD US SS

 

 

e 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 3o0f18 Page ID#:3

Ii.
PARTIES

3. Plaintiff RAY WARREN (Warren), is and was, at all times relevant to
the allegations herein, an employee of the City of Barstow, employed as a police
officer within the Barstow Police Department. As such, he was and is entitled to
the protections of the Public Safety Procedural Bill of Rights Act (Government
Code Sections 3300, et seq.).

4, Defendant CITY OF BARSTOW is a municipality organized and
existing under the laws of the State of California and wholly located within the
County of San Bernardino, California. BARSTOW POLICE DEPARTMENT is a
department and/or agency within the City of Barstow. Defendant HECTOR
RODRIGUEZ (RODRIGUEZ) was at all times relevant herein during the alleged
incidents the City Manager for the City of Barstow. As the City Manager, at all
times relevant herein, RODRIGUEZ was charged with policy making authority for
all matters alleged herein. In doing the things alleged to have been done,
RODRIGUEZ acted in his capacity as the City Manager for the City of Barstow,
under color of state law, within the course and scope of his employment, as an
official policy maker for the City. Further, RODRIGUEZ ratified all acts by
GIBSON, under color of state law, in his official capacity as the City Manager for
the City of Barstow. Defendant CALEB LEE GIBSON (GIBSON) was at all times
relevant during the alleged incidents the Chief of Police for the Barstow Police
Department. As the Department’s Head and City’s top cop, at all times relevant to
the allegations herein, GIBSON was charged with policy making authority for all
matters alleged herein. In doing the things alleged to have been done, GIBSON
acted in his capacity as Chief of Police for the City of Barstow, under color of state
law, within the course and scope of his employment, and as an official policy
maker for the City. As a Department Head, GIBSON was vested with policy-

making authority over actions such as the ones at issue in this complaint.

COMPLAINT FOR DAMAGES

3

 
oOo Oo “Ss HN UO FSF WH Ne

SB NM YM NH NN BRP BP BP RD eB Re ee ee ee
oO SN A AW SF HY NY KF DD Oo Om MH NH A BR Oe oD eS SG

e 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 4of18 Page ID#:4

Ei

5. Lt. Rudy Alcantara was a lieutenant with the City of Barstow at all
times relevant herein and second in command and at times Acting Chief for the
BARSTOW POLICE DEPARTMENT and his actions were ratified by GIBSON at
all times relevant herein. In doing the things alleged to have been done,
ALCANTARA acted in his capacity as Lieutenant for the City of Barstow, under
color of state law, within the course and scope of his employment and as an official
policy maker for the City. His actions were ratified at all times by GIBSON.

6. Defendants DOES 1! through 10 are unknown or unidentified at this
time, but are employees of City of Barstow. On information and belief Plaintiff
alleges that each Doe is in some manner responsible for the wrongs alleged herein,
and that each such Defendant advised, encouraged, participated in, ratified,
directed, or conspired to do, the wrongful acts alleged herein. When the true
names and capacities of said Defendants become known to Plaintiff, Plaintiff will
seek relief to amend this Complaint to show the true identities of each said DOE in
place of their fictitious names as DOES 1 through 10.

7. Defendants, and each of them, were the agent, employees and servants
of every other Defendant. Defendants acted in the course and scope of said
agency, service and employment at all relevant times.

IV.
FACTS COMMON TO ALL COUNTS

8. In or about February 2006, Plaintiff was dispatched as a backup
Officer to Denny’s Restaurant on Main St. regarding several subjects fighting. Set
M. Hunter was dispatched there also along with two other officers. Plaintiff
observed Sgt. Hunter push one of the male subjects from behind, and then push
another subject. Plaintiff wrote a memorandum, letter/complaint to Lieutenant
Rudy Alcantara bringing to light and exposing the excessive use of Force incident
that he witnessed. Plaintiff also expressed concerns about the fact that no report

was taken from one of the arrestees who was the victim of an assault with deadly

COMPLAINT FOR DAMAGES

4

 

 

 
‘Cag

oO SS Ss BN OH B&B WD LN eH

~M NM BM NR ND NR NR Rm ee a a a a
a SND HM FF BW HY KF BD oO we HON OA BR Ul UUme US

$e 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 5of18 Page ID#:5

weapon-hot sauce bottle. Plaintiff followed up several times regarding his
complaint. Plaintiff also met with RODRIGUEZ regarding the illegal use of force
concerns and concerns as expressed in his letter and status regarding his concerns.
RODRIGUEZ told Plaintiff that GIBSON was stonewalling and RODRIGUEZ
ratified GIBSON’s stonewalling tactics.

9. In or about mid to late 2006, Claimant brought to light and
exposed to Human resources of CITY OF BARSTOW inappropriate contacts made
by Lt. Rudy Alcantara to a female police officer. Plaintiff took the information to
Human Resources; A complaint was then filed and then registered on the female
police officer’s behalf against Lt. Alcantara as a result of Plaintiff's reporting.

10. In or about July 2006, a corporal program was reinstituted at the
Department. Plaintiff as the president of the Barstow police officers association
(BPOA), expressed his comments that it would be best for corporals to stay in unit
3 as opposed to moving them to unit 8, as before. A meeting was held with
RODRIGUEZ and city employees in the last few months of 2006. The BPOA
agreed that the corporals should be in unit three. Plaintiff was told that his position
and views did not sit well with management. GIBSON went on telling employees
that Plaintiff was the reason that the Corporal Program was stalled.

11. On or about November 2006, Plaintiff in an email asked GISBON for
a meeting with the BPOA as per the Memorandum of Understanding (MOU).
GIBOSN changed the intent by saying that he would call a general meeting of his
own.

12. Plaintiff actively campaigned as the president of the BPOA and per
the request of everyone in the Barstow police department, for a twelve-hour shift
for police officers in lieu of an eight-hour shift. Plaintiff met with GIBSON and
furnished him with a 12-hour schedule that would have given better coverage than

the proposed 8’s.

COMPLAINT FOR DAMAGES

5

 

 

 
 

‘Cag

Oo CO SY DW te F&F WH HB

NY NM HY RB BY RD RD RD ee ea ea ea a a
eo sa A HH FF BW NY FPF SG oO mw HM RH OH BR HD BY SE GS

le 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 6of18 Page ID#:6

 

 

13. In late 2006 to early 2007, John Cordero who is now at Los Angeles
District Attorney’s office told Plaintiff that a Sergeant told him that He (Plaintiff)
needed to be careful, insinuating that unwarranted adverse actions were going to be
taken against him.

14. GIBSON told Claimant that he had heard that Claimant initiated a
letter of no confidence.

I5. Plaintiff was the president of the Barstow police officers association
and in that capacity asked GIBSON in an e-mail on or about November 8, 2006,
for a meeting with BPOA. The Chief instead stated that he was going to call a

general meeting.

Retaliation

16. Plaintiff brought to light his concerns regarding the excessive use of
force incident at Denny’s. He was then immediately placed on leave and relieved
of duty as the Department initiated an Internal Affairs Investigation against him!
The Department did not investigate the excessive use of force incident, let the one
year statute of limitation run, then send Plaintiff a letter stating that they
interviewed all involved and the investigation was closed. This was not true since
the complainant was Plaintiff and he was not interviewed. Defendants stalled the
investigation regarding the Sergeant’s excessive use of force and incident at
Denny’s and let it expire and in immediate retaliation put Plaintiff himself under
investigation. Plaintiff even met with CITY MANAGER Hector Rodriguez and
asked regarding the status of the complaint. RODRIGUEZ responded that
GIBSON was stonewalling. RODRIGUEZ ratified GIBSON and ALCANTARA’s
responses by snowballing himself and letting it die. In retaliation for exposing to
light the excessive use of force, Plaintiff was placed under investigation, was then
transferred as a punishment to the position of school resources officers on or about

late December 2006. When Plaintiff was reassigned to the highly undesirable

COMPLAINT FOR DAMAGES

6

 
"Cak

oOo CO Ss DN OH BP WH WP Be

MY NM NN NM NY NY NY NY BD Be Be ee eS eS OU

e 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 7of18 Page ID#:7

 

 

position, Officer Torro approached Plaintiff telling him: If you have kept you
f....ing mouth shut, you would not have been stuck over there ( referring to the
schools).

17. Plaintiff was no longer being designated the Officer in Charge.
Plaintiff had been the Officer in Charge for many years before then in the absence
of a watch commander. GIBSON institutes the 12-hour shift but only allows
Plaintiff to work the eight-hour shift as a punishment.

18. Multiple baseless reprimands followed and a tactical plot and another
interrogation and baseless charges and Plaintiff was eventually terminated on or
about May 2007.

19. Because Plaintiff reported the alleged illegal acts of Sgt Hunter and
Lt. Alcantara, almost immediately thereafter, Plaintiff was targeted and became the
subject of ongoing and continued retaliatory acts and harassment including
reprimands, being transferred and re-assigned to the position of a Resources
School officer in or about December 2006, a highly undesirable position, and was
terminated on or about May 2007.

20. Plaintiff was denied ride- a-longs while others in the department were
being allowed to even though he was senior to all other officers.

21. Plaintiff was given a reprimand on 12/4/06 when other officers who
failed to show for an entire shift were not. Plaintiff was being harassed on every
issue and the Department was actively trying to create a way to terminate Plaintiff.

22. GIBSON terminated Plaintiff on or about March 2007 and
RODRIGUEZ approved said termination on or about May 2007. GISBON and
RODRIGUEZ accused Plaintiff of a criminal act, which the District Attorney’s
office cleared him on and terminated him.

23. In or about May 2007, Plaintiff was terminated by the Department in
retaliation to bringing to light the aforementioned activities.

Hit

COMPLAINT FOR DAMAGES

4

 
* Cas

o fF SN HN MH fF wD No Re

oo “rN Ow & WwW ho om aD ‘oo oO ~—TN La & ba dh a)

be 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 8o0f18 Page ID#:8

 

 

V.
COUNT ONE
42 US.C. $1983 — Against All Defendants

24, Plaintiff hereby incorporates each and every preceding paragraph as
though set forth in full here.

25. Asa direct result of the Plaintiff exercising his constitutional rights to
free speech by writing memoranda and formal complaints regarding illegal acts of
the CITY OF BARSTOW POLICE DEPARTMENT of among other things
excessive unjustified illegal use of force against innocent citizens, and bringing to
light violations of state law, as well as violations of both City policy, and by
actively campaigning as the president of the BPOA for better work hours for the
police offices, Plaintiff was retaliated against, with baseless reprimands, being
assigned to a highly undesirable position, not allowed to be officer in charge
anymore, not allowed to work the 12-hour shift, treated disparately, and became
mainly the target and eventually terminated. The memoranda and complaints,
inasmuch as they exposed violations of city policy, were a matter of public interest.
The resulting retaliatory acts by Defendants were nothing but means to inhibit
protected speech, and deprive Plaintiff of his constitutional right to free speech.

26. Subjecting Plaintiff to the numerous reprisals, transferring him to an
undesirable position, subjecting him to interrogations, punishing him, initiating a
criminal investigation against him, then terminating him from him employment
were retaliatory actions intended to punish Plaintiff for exercising his
constitutional right to free speech, and intimidating and inhibiting the exercise of
his constitutional right to free speech.

27. In doing the things alleged herein, Defendants, and each of them,
violated the rights of Plaintiff under the First and Fourteenth Amendments to the
United States Constitution to free expression. Specifically, Defendants have taken

the aforementioned actions against Plaintiff in direct retaliation for, and in

COMPLAINT FOR DAMAGES

8

 
* Case 5:08-cv-00405-RHW-OP Document 1 | Filed 03/24/08 Page Q9of18 Page ID#:9
I |) response to the various protected activities of Plaintiff. The acts of Defendants,
2 || and each of them, by initiating baseless investigations, reprimands, transferring
3 || him to undesirable positions, and then terminating Plaintiff were done by
4 || Defendants under color of state law. They directly violated Plaintiff's clearly
5 || established constitutional and statutory rights. In doing the things alleged herein,
6 |i Defendants acted with malicious intent to violate Plaintiff's rights, or at least in
7 || conscious, reckless, and callous disregard of Plaintiff's rights and to the injurious
8 |) consequences likely to result from the violation of said rights. General, special,
9 |) and exemplary damages are sought according to proof. Punitive damages are
10 |) sought against the individual defendants, according to proof.
iW 28. Plaintiffhas no plain, speedy nor adequate remedy at law to prevent
12 || future violations of his civil rights, and therefore seek extraordinary relief in the
13 || form of permanent injunctions, as hereafter described. Damages alone are
14 || inadequate and injunctive relief is sought to command defendants
15
16 COUNT TWO
17 Supplemental State Claims — Against All Defendants
18 29, Plaintiff hereby incorporates each and every preceding paragraph as
19 || though set forth in full here.
20 30. In doing the things alleged herein, Defendants violated the rights of
21 || Plaintiffs under California Labor Code §1102 by attempting to influence or coerce
22 || political activity by retaliating against Plaintiff for exercising his First Amendment
23 | rights and constitutionally protected rights. Defendants further violated Labor
24 |) Code §1101 by controlling and directing, or tending to control or direct the
25 || political activities or affiliations of its employees by retaliating against Plaintiffs
26 || for exercising their constitutionally protected right. Defendants’ further violated
27 || Labor Code §1102.5 by retaliating against Plaintiff for disclosing information to
28
COMPLAINT FOR DAMAGES
9

 

 

 
' Case

Oo Co SJ BW TA HR WG Ne

NW NM NM HN BM BR DB RD RD HE Be me er ee ea ea ea
So SN DA UH SF YW NY KF OD ODO Cc MY RH tA BR Ol DU

 

 

5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 100f18 Page ID #:10

the City that the Plaintiffs reasonably believed constituted violations of state or
federal statute, rule or regulation.

31. In doing the things alleged herein, Defendants violated the rights of
Plaintiffs under California Government Code §§3302, 3309.5 which prohibits a
public safety employer from interfering with political activities of its public safety
officers. Defendants further violated Government Code §3502.1 by taking
punitive action against Plaintiff, by giving him negative evaluations, by negatively
changing his work conditions, by taking away his Officer in charge duties, for his
exercise of free speech.

32. In doing the things alleged herein, Defendants violated the rights of
Plaintiff under the California Constitution, Article I, §§2, 3, by restraining
Plaintiffs liberty of speech by performing all the above referenced retaliatory acts
solely in retaliation for engaging the aforementioned acts of free speech.

33. Plaintiff filed a tort claim on or about July 30, 2007, which was
rejected on or about September 24, 2007.

VI.
PRAYER
WHEREFORE, Plaintiff prays:
1. For general, special, exemplary and punitive damages according to
proof;
2. For costs of suit;

For attorneys fees under 42 USC $1988 and otherwise as permitted by
law;
4. For injunctive relief as described above; and

For other appropriate relief.

Dated: March 24, 2008 Respectfully submitted,
LACKIE & DAMMEIER APC

COMPLAINT FOR DAMAGES

10

 
* ‘Cas

oO S&S SS DW WA BR WD NHN =

MN RR WN
euaA ae SRP SS Gaeri_iaaukrtoapas

Cal. Rule 3.4.10.1.
Dated: March 24, 2008

 

 

i 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 11o0f18 Page ID#:11

y

Zahra khoury
Michael A. McGill,
Attorneys for Plaintiff,
RAY WARREN

DEMAND FOR JURY
Plaintiffs hereby demand a jury trial under F.R. Civ. P., Rule 38 and C.D.

Respectfully submitted,
LACKIE & DAMMEIER APC

a

Zabra Khoury

Michael A. McGill,
Attorneys for Plaintiff,
RAY WARREN

COMPLAINT FOR DAMAGES

 
Case 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 12o0f18 Page ID#:12

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Stephen G. Larson and the assigned
discovery Magistrate Judge is Oswald Parada.

The case number on all documents filed with the Court should read as follows:

EDCVO08- 405 SGL (OPx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [_] Southern Division X] Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St, Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 5:08-cv-00405-RHW-OP Document 1 Filed 03/24/08 Page 130f18 Page ID #:13

®3A0 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT COURT

Central District of California

Ray Warren,

Plaintiff SUMMONS IN A CIVIL CASE
V.

CITY OF BARSTOW, CITY OF BARSTOW

POLICE DEPARTMENT, HECTOR

RODRIGUEZ, individually and in his capacity as CASE NUMBERE D C VJ 0 8 - 0 4 0 5 S GL
the City Manager for the City of Barstow, CALEB

LEE GIBSON, individually and in his capacity of ( 0 bs
Chief of Police for the City of Barstow; (Please ili x)
see attached list)

TO: (Name and address of Defendant)

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

Zahra Khoury, SBN: 231065
Lackie & Dammeier APC
367 North Second Avenue
Upland, CA 91786

an answer to the complaint which is served on you with this summons, within 20 days after service
of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint. Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.

CLE’

Hf NAR 2 4 2

“t
Q
¢ N\
\
|
[ U0
>
=
tm
Case 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 14 0f18 Page ID #14

®A0 440 (Rev. 8/01} Summons ina Civil Action

 

 

 

RETURN OF SERVICE
DATE
Service of the Summons and complaint was made by me“?
NAME OF SERVER (PRINT) TITLE

 

 

Check one box below to indicate appropriate method of service

 

O Served personally upon the defendant. Place where served:

 

 

Name of person with whom the summons and complaint were left:

f] Returned unexecuted:

C1 Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein.

 

 

 

 

C1 Other (specify):

 

 

 

 

STATEMENT OF SERVICE FEES

 

TRAVEL

 

SERVICES

 

TOTAL

 

DECLARATION OF SERVER

 

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct,

 

Signature of Server

 

Address of Server

 

(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.

 
“Case 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 15o0f18 Page ID #:15

ATTACHMENT

Additional Defendants:

RUDY ALCANTARA, individually and in his capacity as the lieutenant for the City of
Barstow Police Department; and DOES 1 THROUGH 10 inclusive,
Case 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 16o0f18 Page ID#:16

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

I (a) PLAINTIFFS (Check box if you are representing yourself 1}

Ray Warren

(b) County of Residence of First Listed Plaintiff (Except in U.S. Plaintiff Cases):

San Bernardino

DEFENDANTS
CITY OF BARSTOW, CITY OF BARSTOW POLICE

DEPARTMENT, (Please see attachment)

County of Residence of First Listed Defendant (In U.S. Plaintiff Cases Only);
San Bernardino

 

{c) Attorneys (Firm Name, Address and Telephone Number. If you are representing
yourself, provide same.)

Zahra Khoury

Lackie & Dammeier, APC
367 North Second Avenue
Upland, CA 91786 909-985-4003

 

Attorneys (If Known)

 

I. BASIS OF JURISDICTION (Place an X in one box only.}

O11U.S. Government Plaintiff

O12 U.S. Government Defendant

w3 Federal Question (U.S.

Government Not a Party}

O14 Diversity (indicate Citizenship

of Parties in Item IH)

 

Ill. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

Citizen of This State

Citizen of Another State

Citizen or Subject ofa Foreign Country O13 03

PTF
O1

O2

DEF PTF DE

Oi Incorporated or Principal Place O4 (4
of Business in this State

(12 Incorporated and Principal Place O5 O8
of Business in Another State
Foreign Nation O68 Oe

 

I¥. ORIGIN (Place an X in one box only.)

w1 Original
Proceeding

Appellate Court

Reopened

(112 Removed from 3 Remanded from O14 Reinstated or O15 Transferred from another district (specify). (16 Multi-
State Court District

Litigation

O17 Appeal to Distri
Judge from
Magistrate Judg

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: WY Yes O) No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under FRCP. 23: O Yes i’No

C MONEY DEMANDED IN COMPLAINT: $

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
42 U.S.C, Section 1983, et seq. Violation of individual and civil rights and liberties

 

VIL NATURE OF SUIT (Place an X in one box only.)

 

 

 

 

 

 

 

 

 

 

EDCVO8- 0405

OTHER STATUTES - CONTRACT TORTS TORTS PRISONER LABOR
C1400 State Reapportionment |Z 110 Insurance “PERSONAL INJURY PERSONAL PETITIONS O710 Fair Labor Standar
01410 Antitrust 0120 Marine (1310 Airplane PROPERTY [1510 Motions to Act
430 Banks and Banking 1 130 Miller Act (1315 Airplane Product j(1 370 Other Fraud Vacate Sentence | 720 Labor/Memt.
01450 Commerce/ICC C1 140 Negotiable Instrument Liability 1371 Truth in Lending Habeas Corpus Relations
Rates/etc. 0 150 Recovery of 01320 Assault, Libel & [1380 Other Personal {1 530 General 01730 Labor/Memt.
0460 Deportation Overpayment & Slander Property Damage | 535 Death Penalty Reporting &
£1470 Racketeer Influenced Enforcement of (1330 Fed. Employers’ [1385 Property Damage |0 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other (1740 Railway Labor Act
Organizations [1151 Medicare Act 0340 Marine BANKRUPTCY (1550 Civil Rights 01790 Other Labor
(1480 Consumer Credit 0152 Recovery of Defaulted |[1 345 Marine Product {1422 Appeal 28 USC |01555 Prison Condition Litigation
1490 Cable/Sat TV Student Loan (Excl, Liability 158 FORFEITURE / (1791 Empl. Ret. Inc,
01810 Selective Service Veterans) [) 350 Motor Vehicle [1423 Withdrawal 28 PENALTY Security Act
0850 Securities‘Commodities [DO 153 Recovery of 11355 Mater Vehicle USC 157 O610 Agriculture PROPERTY RIGHTS
/Exchange Overpayment of Product Liability CIVIL RIGHTS (1620 OtherFood & {11820 Copyrights
1875 Customer Challenge i2 Veteran’s Benefits (1360 Other Personal 0441 Voting Dmg 0 830 Patent
USC 3410 C] 160 Stockholders’ Suits Injury 0442 Employment [1625 Drug Related 0 840 Trademark
0 890 Other Statutory Actions [0 190 Other Contract (1362 Personal Injury- |(1 443 Housing/Acco- Seizure of SOCIAL SECURITY
£1891 Agricultural Act £1195 Contract Product Med Malpractice mmodations Property 2! USC |O 861 HIA (1395ff}
0892 Economic Stabilization Liability (1365 Personal Injury- j[ 444 Welfare 881 0) 862. Black Lung (923}
Act 0 196 Franchise Product Liability (0445 American with {11630 Liquor Laws 0863 DIWC/DIWW
01893 Environmental Matters ‘REAL PROPERTY [2368 Asbestos Personal Disabilities - [1 640 RR. & Truck (403(g))
(1894 Energy Allocation Act |[ 210 Land Condemnation Injury Product Employment 01650 Airline Regs C864 SSID Title XVI
(11895 Freedom of info. Act 11 220 Foreclosure Liability 0446 American with {11660 Occupational 01865 RSI (405(g))
(1900 Appeal of Fee Determi- [1 230 Rent Lease & Ejectment Disabilities - Safety /Health FEDERAL TAX SUITE
nation Under Equal ( 240 Torts to Land Other 0690 Other 0870 Taxes (U.S. Plaint
Access to Justice 0 245 Tort Product Liability 4440 Other Civil or Defendant)
(11950 Constitutionality of 0 290 All Other Real Property Rights (11871 IRS-Third Party 24
State Statutes USC 7609
Vili(a). IDENTICAL CASES: Has this action been previously filed and dismissed, remanded or closed? MNo OYes
Ifyes, list case number(s):
FOR OFFICE USE ONLY: Case Number:
CV-71 (07/05) CIVIL COVER SHEET Page 1
Case 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 17of18 Page ID#:17

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW,

VID(b}. RELATED CASES: Have any cases been previously filed that are related to the present case? WNo O Yes

 

Ef yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) OA. Arise from the same or closely related transactions, happenings, or events; or
CB. Call for determination of the same or substantially related or similar questions of law and fact; or
OC. For other reasons would entail substantial duplication of labor if heard by different judges: or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or ¢ also is present.

 

IX. VENUE: List the California County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet if necessary)
DO Check here if the U.S. government, its agencies or employees is a named plaintiff.
San Bernardino County

List the Califomia County, or State if other than California, in which EACH named defendant resides. (Use an additional sheet if necessary).
O Check here if the U.S. government, its agencies or employees is a named defendant,
San Bernardino County

List the California County, or State if other than California, in which EACH claim arose. (Use an additional sheet if necessary)

Note: In land condemnation cases, use the location of the tract of land involved.
San Bemardino County

 

X. SIGNATURE GF ATTORNEY (OR PRO PER): Date March 24, 2008

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not
filed but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions
sheet,}

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode = Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL AlF claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(39 U.S.C. 923)

863 DIWC _ Ail claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims fited for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social
Security Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
ULS.C, (2)

 

CV-71 (07/05) CIVIL COVER SHEET Page 2 of |
ae

Case 5:08-cv-00405-RHW-OP Document1 Filed 03/24/08 Page 18o0f18 Page ID#:18

ATTACHMENT

Additional Defendants:

HECTOR RODRIGUEZ, individually and in his capacity as the City Manager for the
City of Barstow, CALEB LEE GIBSON, individually and in his capacity of Chief of
Police for the City of Barstow; RUDY ALCANTARA, individually and in his capacity as
the lieutenant for the City of Barstow Police Department; and DOES 1 THROUGH 10
inclusive,

Defendants.
